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                               UNITED STATES DISTRICT COURT

                                     DISTRICT OF NEVADA

SHIKEMA           WEST         and   KIMBERLY Case No.:
HARDING,

                 Plaintiffs,                         DEFENDANT'S NOTICE OF REMOVAL
                                                      OF ACTION UNDER 28 U.S.C.§ 1441
vs.
                                                              (DIVERSITY)

GENUINE PARTS COMPANY, a Nevada
Company; DOES I through XX; DOES
CORPORATION I through XX; ROE
EMPLOYEES I through X,inclusive,

                 Defendants.


          Pursuant to 28 U.S.C. § 1441(b), Defendant Genuine Parts Company ("Defendant"), by and

through its attorneys Carol P. Michel, Esq. and Kristian T. Kaskla, Esq. of the law firm of

Weinberg Wheeler Hudgins Gunn & Dial, LLC, removes to this Court the state action titled

Shikema West and Kimberly Harding v. Genuine Parts Company, District Court Case No. A-17-

754291-C and states as follows:

          1.     On April 20, 2017, Plaintiff Kimberly Harding ("Plaintif') filed the Complaint and

commenced an action in the Eight Judicial District Court, Clark County, State of Nevada, titled

Shikema West and Kimberly Harding v. Genuine Parts Company Case No. A-17-754291-C.

Attached as Exhibit A is a copy of all process, pleadings, and orders served upon Defendant in this

action.

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 1           2.      This action is a civil action of which this Court has original jurisdiction under 28

 2   U.S.C. § 1332, and is one which may be removed to this Court by Defendant pursuant to the

 3   provisions of 28 U.S.C. § 1441(b) in that it is a civil action between citizens of different states and

 4   the matter in controversy exceeds the sum of $75,000.00 exclusive of interest and costs.

 5           3.      There is diversity of citizenship between the parties. Upon information and belief,

 6   Plaintiff is, and was at the time of the filing of this action, a citizen of Clark County Nevada.(See

 7   Exhibit B, Plaintiff's Complaint, at ¶ 1). Defendant is not a Nevada corporation, but is instead a

 8   Foreign Corporation with its principal place of business in Georgia, and thus, for jurisdictional

 9   purposes, is a citizen of Georgia. (See Exhibit C, Nevada Secretary of State Business Entity

10   Information for Genuine Parts Company). Thus, Plaintiff and Defendant are citizens of different

     states and diversity jurisdiction is appropriate.

            4.       Venue is appropriate in the unofficial Southern District of this Court pursuant to 28
13   U.S.C. § 1441(a) and LR IA6-1.

14          5.      Pursuant to 28 U.S.C. § 1446(d), written notice of this removal has been provided
     simultaneously to Plaintiff's counsel and with the clerk of the state court from which this action

     has been removed.(See Exhibit D,Notice of Filing Notice of Removal).

            6.      A defendant wishing to remove an action must generally file a notice of removal

     within thirty days of receipt of the initial pleading or service of summons. 28 U.S.C. § 1446(b)(3).

     However, if the case stated by the initial pleading is not removable, a notice of removal may be

20   filed within thirty days after receipt by the defendant through service or otherwise, a copy of an

21   amended pleading, motion, order or other paper from which it may first be ascertained that the case

22   is one which is or has become removable. Id.

23          7.      Removal in this action is timely. On March, 28, 2018, it first became ascertainable
24   that this case had become removable when Plaintiff filed her first computation of damages setting

25   forth $31,584.56 in total medical specials. (See Exhibit E, Plaintiff's Second Supplement to Early

26   Case Conference, at p. 2). A computation of damages is a required disclosure pursuant to NRCP

27   16(a)(1)(C). Plaintiff also concurrently filed the First Supplement to the Responses to Defendant

28   Genuine Parts Company's First Set of Requests for Documents providing evidence in support of


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1   her past/future pain and suffering damages, future loss of enjoyment of life damages, and future

    medical treatment damages. (See Exhibit F, at p. 3-4). Plaintiff's computation of damages and

    responses to written discovery together made it ascertainable that the amount in controversy

    exceeds $75,000.00. As such, Defendant's deadline to remove the case is April 28, 2018.

            8.      A defendant's duty is not to prove by a preponderance of the evidence that the

    plaintiff is likely to recover an amount in excess of the threshold. Rather, the jurisdictional

    minimum in diversity cases is determined by the amount at stake to either party. Hamrick v. REO

    Properties Corp., 3:09-CV-00714-RCJ, 2010 WL 2836614, at *2(D. Nev. July 15, 2010). In other

    words, the amount in controversy is satisfied when the plaintiff's potential gain exceeds the

    jurisdictional limit. Id. The pertinent question the Court is to ask is whether or not plaintiff is likely

    to ask a jury for an amount above $75,000. Canonico v. Seals, 2:13-CV-00316-RCJ, 2013 WL

    1787191, at *2 (D. Nev. Apr. 25, 2013). As such, the appropriate figure to use in determining

    whether Defendant has presented adequate evidence to establish the amount in controversy is not

    the probable amount that Plaintiff will recover, but rather the total potential value of Plaintiff's

    claims considering all of the allegations and all the asserted damages. If Defendant can show by a

    preponderance of the evidence that: (1) Plaintiff is likely to ask from the jury an amount over the

    jurisdictional threshold, or (2) were a jury to award Plaintiff full recovery that amount would be

    over the jurisdictional threshold, then,jurisdiction with the Federal Court should remain.

            9.      The amount in controversy exceeds the sum of $75,000.00. This case involves a

    motor vehicle incident wherein the vehicle Plaintiff allegedly was a passenger of collided with a

    box that fell out of Defendant's truck. Upon information and belief, Plaintiff is claiming severe

    bodily injuries to her neck and back as a result of the collision. Plaintiff asserted in her Complaint

    that she is entitled to general and special damages in excess of $15,000.00 plus attorneys fees and

    costs. Plaintiff's computation of damages provides that she has incurred $31,584.56 total medical

    special damages to date. Plaintiff's responses to written discovery also demonstrate that she is
    making significant past/future pain and suffering, loss of enjoyment of life, and future medical

    treatment damages claims. Furthermore, Plaintiff has made a demand in this case for the amount of

    $175,000.00 an amount well in excess of the required amount in controversy. (See Exhibit G,

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Settlement Demand). A settlement letter is relevant evidence of the amount in controversy if it

appears to reflect a reasonable estimate of the plaintiff's claim. Cohn v. Petsmart, Inc., 281 F.3d

836, 840 (9th Cir. 2002); Rodgers v. Travelers Prop. Cas. Co. ofAm., 3:07-CV-00619-RAM,2008

WL 3992801, at *3 (D. Nev. Aug. 22, 2008). While a settlement offer by itself may not be

determinative, it "counts for something." Id. Here, the settlement offer in combination with

Plaintiff's recently disclosed damages computation and discovery responses demonstrate that this

is the legitimate amount in controversy.' See Id. As such, it is apparent that Plaintiff is likely to

ask a jury for more than the $75,000.00 jurisdictional threshold.

        10.      Based on the foregoing, Defendant respectfully submits that (a) there is diversity of

citizenship between Plaintiff and Defendant, and (b) the amount in controversy exceeds

$75,000.00. Therefore, this action is properly removed to the United States District Court for the

Southern District of Nevada.

        DATED this 19th day of April, 2018.



                                                    /s/Carol P. Michel
                                                    Carol P. Michel, Esq.
                                                    Kristian T. Kaskla, Esq.
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 Defendant disputes that Plaintiff has suffered any damages.
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 1                                       CERTIFICATE OF SERVICE

 2            I hereby certify that on the Pt day of April, 2018, I served a true and correct copy of

 3     the foregoing DEFENDANT'S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §

 4     1441 (DIVERSITY) was served by e-service, in accordance with the Electronic Filing Procedures

 5     of the United States District Court, to the following:

6
        Robert L. Hempen II, Esq.
 7      LAW OFFICE OF ROBERT L. HEMPEN II, ESQ.
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                                             An employee o        = INBERG, WHEELER,HUDGINS
14
                                                                     & DIAL, LLC
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